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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  BEAUMONT DIVISION


 UNITED STATES OF AMERICA                         §
                                                  §
                                                  §
 VS.                                              §            CASE NO. 1:11-CR-142
                                                  §
                                                  §
 ESMERALDA GARZA                                  §


           FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
                BEFORE THE UNITED STATES MAGISTRATE JUDGE

        By order of the District Court, this matter is referred to the undersigned United States

 Magistrate Judge for administration of the guilty plea under Rule 11. Magistrate judges have the

 statutory authority to conduct a felony guilty plea proceeding as an “additional duty” pursuant to 28

 U.S.C. § 636(b)(3). United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002).

        On July 5, 2012, this case came before the undersigned magistrate judge for entry of a guilty

 plea by the Defendant, Esmeralda Garza, to Count One (1) of the Information. Count One alleges

 that between on or about January 2010, and on or about March 31, 2011, in the Eastern District of

 Texas and elsewhere, Esmeralda Garza, defendant, while having actual knowledge of the actual

 commission of a felony recognizable by a court of the United States, namely, conspiracy to possess

 with intent to distribute a mixture or substance containing a detectable amount of a Schedule II

 controlled substance, namely, cocaine HCL, and the defendant did knowingly conceal and did not

 as soon as possible make known the same to some judge or other person in civil authority under the

 United States, in violation of 18 U.S.C. § 4.



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          The Defendant, Esmeralda Garza, entered a plea of guilty to Count One of the Information

 into the record at the hearing. After conducting the proceeding in the form and manner prescribed

 by Federal Rule of Criminal Procedure 11, the undersigned finds:

          a.        That the Defendant, after consultation with her attorney, has knowingly, freely and

 voluntarily consented to the administration of the guilty plea in this case by a United States

 Magistrate Judge in the Eastern District of Texas, subject to a final approval and imposition of

 sentence by the District Court.

          b.        That the Defendant and the Government have entered into a plea agreement which

 was disclosed and addressed in open court, entered into the record, and placed under seal. The

 Defendant verified that she understood the terms of the plea agreement, agreed with the

 Government’s summary of the plea agreement, and acknowledged that it was her signature on the

 plea agreement. To the extent the plea agreement contains recommendations and requests pursuant

 to FED. R. CRIM. P. 11 (c)(1)(B), the court advised the Defendant that she has no right to withdraw

 the plea if the Court does not follow the particular recommendations or requests. To the extent that

 any or all of the terms of the plea agreement are pursuant to Rule 11(c)(1)(A) or (C), the undersigned

 advised the Defendant that she will have the opportunity to withdraw her plea of guilty should the

 Court not follow those particular terms of the plea agreement.1

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  “(3) Judicial Consideration of a Plea Agreement.
 (A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
 agreement, reject it, or defer a decision until the court has reviewed the presentence report.
 (B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant
 that the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
 (4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the extent
 the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included in the judgment.
 (5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in Rule
 11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in camera):
 (A) inform the parties that the court rejects the plea agreement;
 (B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
 an opportunity to withdraw the plea; and
 (C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
 toward the defendant than the plea agreement contemplated.” FED. R. CRIM. P. 11(c)(3)-(5).

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         c.      That the Defendant is fully competent and capable of entering an informed plea, that

 the Defendant is aware of the nature of the charges and the consequences of the plea, and that the

 plea of guilty is made freely, knowingly, and voluntarily. Upon addressing the Defendant personally

 in open court, the undersigned determines that the Defendant’s plea is knowing and voluntary and

 did not result from force, threats or promises (other than the promises set forth in the plea

 agreement). See FED. R. CRIM. P. 11(b)(2).

         d.      That the Defendant’s knowing and voluntary plea is supported by an independent

 factual basis establishing each of the essential elements of the offense and the Defendant realizes that

 her conduct falls within the definition of the crimes charged under Title 18, United States Code,

 Section 4.

                                    STATEMENT OF REASONS

         As factual support for the Defendant’s guilty plea, the Government presented a factual basis.

 See Factual Basis and Stipulation. In support, the Government would prove that Esmeralda Garza

 is the same person charged in the Information and that the events described in the Information

 occurred in the Eastern District of Texas and elsewhere. The Government would also have proven,

 beyond a reasonable doubt, each and every essential element of the offense as alleged in Count One

 of the Information through the testimony of witnesses, including expert witnesses, and admissible

 exhibits. In support of the Defendant’s plea, the undersigned incorporates the proffer of evidence

 described in detail in the factual basis and stipulation filed in support of the plea agreement, and the

 Defendant’s admissions made in open court in response to the undersigned’s further inquiry into the

 factual basis and stipulation.

         The Defendant agreed with and stipulated to the evidence presented in the factual basis.

 Counsel for the Defendant and the Government attested to the Defendant’s competency and


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 capability to enter an informed plea of guilty. The Defendant agreed with the evidence presented

 by the Government and personally testified that she was entering her guilty plea knowingly, freely

 and voluntarily.

                               RECOMMENDED DISPOSITION

        IT IS THEREFORE the recommendation of the undersigned United States Magistrate

 Judge that the District Court accept the Guilty Plea of the Defendant, which the undersigned

 determines to be supported by an independent factual basis establishing each of the essential

 elements of the offense charged in Count One of the Information. It is also recommended that the

 District Court defer acceptance of the plea agreement until . Accordingly, it is further recommended

 that the District Court finally adjudge the Defendant, Esmeralda Garza, guilty of the charged offense

 under Title 18, United States Code, Section 4 (Misprison of a felony).

        The District Court should defer its decision to accept or reject the plea agreement until there

 has been an opportunity to review the presentence report. If the plea agreement is rejected and the

 Defendant still persists in his guilty plea, the disposition of the case may be less favorable to the

 Defendant than that contemplated by the plea agreement. The Defendant is ordered to report to the

 United States Probation Department for the preparation of a presentence report. The Defendant has

 the right to allocute before the District Court before imposition of sentence.

                                           OBJECTIONS

        Objections must be: (1) specific, (2) in writing, and (3) served and filed within fourteen (14)

 days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 1(a),

 6(b), and 72(b). A party’s failure to object bars that party from: (1) entitlement to de novo review

 by a district judge of proposed findings and recommendations, see Rodriguez v. Bowen, 857 F.2d

 275, 276-77 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error of


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 unobjected-to factual findings and legal conclusions accepted by the district court, see Douglass v.

 United Servs. Auto. Ass’n., 79 F.3d 1415, 1417 (5th Cir. 1996) (en banc). The constitutional

 safeguards afforded by Congress and the courts require that, when a party takes advantage of her

 right to object to a magistrate’s findings or recommendation, a district judge must exercise its

 nondelegable authority by considering the actual evidence and not merely by reviewing and blindly

 adopting the magistrate’s report and recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620

 (5th Cir. 1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).



         SIGNED this 6th day of July, 2012.




                                                       _________________________
                                                       Zack Hawthorn
                                                       United States Magistrate Judge




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